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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
ENERGY FUTURE HOLDINGS CORP., et al.,1                             )   Case No. 14-10979 (CSS)
                                                                   )
                           Debtors.                                )   (Jointly Administered)
                                                                   )
                                                                   )   Objection Deadline: July 6, 2015, at 4:00 p.m. EDT
                                                                       Hearing Date: To be determined
                                                                   )

                 SUMMARY COVER SHEET TO THE SECOND
        INTERIM FEE APPLICATION OF O’KELLY ERNST & BIELLI, LLC,
    CO-COUNSEL FOR DEBTOR AND DEBTOR IN POSSESSION ENERGY FUTURE
          HOLDINGS CORP., FOR THE PERIOD FROM JANUARY 1, 2015
                 THROUGH AND INCLUDING APRIL 30, 2015

       In accordance with the Local Bankruptcy Rules for the District of Delaware (the “Local
Bankruptcy Rules”), O’Kelly Ernst & Bielli, LLC (“OEB”), co-counsel for the debtor and debtor
in possession Energy Future Holdings Corp. (“EFH Corp.”), submits this summary (this
“Summary”) of fees and expenses sought as actual, reasonable, and necessary in the first interim
fee application to which this Summary is attached (the “Fee Application”)2 for the period from
January 1, 2015 through April 30, 2015 (the “Fee Period”).

       OEB submits the Fee Application as an interim fee application in accordance with the
Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for
Professionals [D.I. 2066] (the “Interim Compensation Order”) and the Stipulation and Order
Appointment a Fee Committee [D.I. 1896] (the “Fee Committee Order”).




1
          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of
the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of their
federal tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
2
  Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such terms
in the Fee Application.
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General Information

Name of Applicant:                                                    O’Kelly Ernst & Bielli, LLC

Authorized to Provided Services to:                                   Energy Future Holdings Corp.,
                                                                      Debtor and Debtor in Possession

Petition Date:                                                        April 29, 2014

Date of Order Authorizing                                             January 13, 2015, nunc pro tunc
EFH Corp. to Retain OEB [D.I. 3280]:                                  to November 19, 2014

Summary of Fees and Expenses Sought in the Fee Application3

Period for Which Compensation and                                     January 1, 2015 through
Reimbursement is Sought in the Fee Application:                       April 30, 2015

Amount of Compensation Sought as Actual,
Reasonable, and Necessary for the Fee Period:                         $33,579.50

Amount of Expense Reimbursement Sought as
Actual, Reasonable, and Necessary for the Fee Period:                 $554.36

Total Compensation and Expense
Reimbursement Requested for the Fee Period:                           $34,133.86

Rate Increases Applicable to the Fee Period

                                                                      None.

Summary of Past Requests for Compensation and Prior Payments

Total Amount of Compensation Previously Requested
Pursuant to the Interim Compensation Order to Date:                   $43,721.00

Total Amount of Expense
Reimbursement Previously Requested
Pursuant to the Interim Compensation Order to Date:                   $734.36

Total Compensation Approved

3
  Of the amount of fees and expenses sought in this Fee Application, $2,028.30 represents the amount for which
OEB has not sought compensation in the monthly fee statement it has filed as of the date hereof for the following
period: November 19, 2014 to December 31, 2014 [D.I. 3406] (the “Monthly Fee Statement”). Also, OEB renders
legal serves only to EFH Corp.. Pursuant to paragraph 4 of the Retention Order, absent an order of the Court, the
fees and expenses incurred by OEB are paid by EFH Corp. As such, no allocation pursuant to paragraph 2(b) of the
Interim Compensation Order is applicable.

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Pursuant to the Interim Compensation Order to Date:        $29,200.80

Total Amount of Expense Reimbursement Approved
Pursuant to the Interim Compensation Order to Date:        $546.66

Total Allowed Compensation Paid to Date:                   $25,814.00

Total Allowed Expenses Paid to Date:                       $541.56

Compensation Sought in this Application
Already Paid Pursuant to the Interim
Compensation Order but Not Yet Allowed:                    $17,700.80

Expenses Sought in this Application
Already Paid Pursuant to the Interim
Compensation Order but Not Yet Allowed:                    $351.56

                                           O’KELLY ERNST & BIELLI, LLC

Date: June 15, 2015                        /s/ David M. Klauder
                                           David M. Klauder (No. 5769)
                                           Shannon J. Dougherty (No. 5740)
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                                           Fax: (302) 295-2873
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                                           and

                                           PROSKAUER ROSE LLP

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                                           Co-Counsel to the Debtor
                                           Energy Future Holdings Corp.

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